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                      EXHIBIT B
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                                      ALLOCATION PROTOCOL

    1. Purpose. The purpose of this Allocation Protocol is for the U.S. and Canadian Courts1 to
       set forth binding procedures for the allocation of the Sale Proceeds among the Selling
       Debtors and the Non-Filed Entities (any hearing regarding same, an “Allocation Protocol
       Hearing,” and any discovery regarding same, “Allocation Protocol Discovery”). Creditor
       claims, including but not limited to intercompany claims by and between any Nortel
       entities, their representatives or successors (“Intercompany Claims”) are not covered by
       or subject to this Allocation Protocol. All Intercompany Claims between the U.S.
       Debtors and Canadian Debtors shall be addressed in accordance with the Cross-Border
       Protocol and the Cross-Border Claims Protocol. All other Intercompany Claims shall be
       addressed in accordance with the claims reconciliation process established by the Nortel
       entity against which any Intercompany Claim is made.

    2. Participants. Each of the Selling Debtors, the Committee, the Bondholder Group, the
       Monitor, the Joint Administrators and the Non-Filed Entities (collectively, the “Parties”
       and each individually, a “Party”)2 and their authorized representatives will have standing
       to fully participate in and submit written statements, present oral arguments and
       otherwise directly participate in any and all hearings before the U.S. and Canadian Courts
       arising under or relating to this Allocation Protocol, as well as any and all discovery,
       depositions and examinations contemplated herein.

    3. Cross-Border Protocol. Any and all Allocation Protocol Hearings shall proceed in
       accordance with the Cross-Border Protocol, unless otherwise ordered by the U.S. and
       Canadian Courts.

    4. Procedures. The U.S. and Canadian Courts will determine the procedures that will
       govern the Allocation Protocol Hearings and related Allocation Protocol Discovery. In
       recognition of the extensive discovery already conducted by the Parties to date in
       connection with the non-binding mediation sessions, the Allocation Protocol Discovery
       and Allocation Protocol Hearings shall proceed in an expeditious manner.

             a. Fact Discovery. The U.S. and Canadian Courts will facilitate the Parties’
                exchange of fact discovery by determining the following:

                      i. the deadline for identification of fact witnesses and number of fact
                         witnesses allowed;

                     ii. the deadline for service of reasonable requests for the production of non-
                         privileged documents on any other Party;


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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Joint Motion for
    Entry of an Order Establishing an Allocation Protocol Pursuant to the Interim Funding and Settlement
    Agreement, and for Related Relief, dated April 25, 2011.
2
    The listed parties are either signatories to or have rights under the IFSA or the Escrow Agreements.
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      iii. the deadline for objections to any Party’s document requests; and

      iv. the deadline for completion of depositions, the number of depositions
          permitted, and the time allowed for such depositions for each party.

b. Experts. The U.S. and Canadian courts shall facilitate expert discovery by
   determining the following:

       i. the deadline for and format of expert reports (including exhibits), which
          shall constitute the direct testimony of each expert;

       ii. the deadline for and format of rebuttal expert reports (including exhibits);
           and

      iii. the deadline for completion of expert depositions and the time allowed for
           such expert depositions.

c. Joint Conferences. The U.S. and Canadian Courts shall be available for joint
   conferences to resolve any discovery disputes among the Parties and to receive
   updates as to the status of the proceedings. The U.S. and Canadian courts will
   determine when joint conferences may be set.

d. Joint Hearings. The U.S. and Canadian Courts shall have joint hearings on the
   merits. The U.S. and Canadian Courts shall determine:

       i. the date(s) for an opening hearing on the Parties’ allocation positions
          (prior to factual discovery) and the rules governing such hearing;

       ii. the date(s) for an evidentiary hearing on the merits (after the close of fact
           and expert discovery and after the completion of written submissions) and
           the rules governing such hearing, during which opening and closing
           statements shall be made and cross-examination and limited redirect
           examination of fact and expert witnesses shall take place; and

      iii. the procedure for requesting or setting joint conferences as necessary to
           resolve any discovery disputes among the Parties or to receive updates to
           the status of the proceedings.

e. Written Submissions. The U.S. and Canadian Courts will determine:

       i. the deadline for and format of opening submissions (including exhibits);

       ii. the deadline for and format of fact affidavits to accompany the opening
           submissions, which shall constitute the direct testimony of each fact
           witness;


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              iii. the deadline for and format of reply submissions (including exhibits); and

              iv. the deadline for and format of fact affidavits to accompany the reply
                  submissions.

5. Decision. After the completion of Allocation Protocol Discovery and the Allocation
   Protocol Hearings, the U.S. and Canadian Courts shall issue a decision on the merits.




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